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                                                                           United States Courts
                                                                         Southern District of Texas
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             United States Court of AppealsNathan Ochsner, Clerk of Court
                  for the Fifth Circuit
                                                                    United States Court of Appeals
                                                                             Fifth Circuit


                                ____________   FILED
                                                                    October 11, 2024
                                 No. 24-40248                         Lyle W. Cayce
                                ____________                               Clerk

     M. D., by next friend Sarah R. Stukenberg; D. I., by next
     friend Nancy G. Pofahl; Z. H., by next friend Carla B.
     Morrison; S. A., by next friend Javier Solis; A. M., by
     next friend Jennifer Talley; J. S., by next friend Anna J.
     Ricker; K. E., as next friend John W. Cliff, Jr.; M. R., as next
     friend Bobbie M. Young; J. R., as next friend Bobbie M. Young;
     H. V., by next friend Anna J. Ricker; P. O., as next friend
     Anna J. Ricker; L. H., as next friend Estela C. Vasquez; C. H.,
     by next friend Estela C. Vasquez; S. R., as next friend Bobbie
     M. Young; S. S., as next friend Estela C. Vasquez; A. R., as next
     friend Tom McKenzie, individually and on behalf of all others similarly
     situated,

                                                         Plaintiffs—Appellees,

                                      versus

     Greg Abbott, in his official capacity as Governor of the State of Texas;
     Cecile Erwin Young, in her official capacity as Executive Commissioner
     of the Health and Human Services Commission of the State of Texas;
     Stephanie Muth, in her official capacity as Commissioner of Texas
     Department of Family and Protective Services,

                                           Defendants—Appellants.
                   ______________________________

                   Appeal from the United States District Court
                       for the Southern District of Texas
                             USDC No. 2:11-CV-84
                   ______________________________
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     Before Jones, Clement, and Wilson, Circuit Judges.
     Edith H. Jones, Circuit Judge:
            In their fourth appeal from court orders that awarded permanent
     injunctive relief designed to overhaul the Texas foster care system, the state
     defendants challenge a contempt order and $100,000 per day ongoing fines.
     The state raises numerous defenses against the sanctions, including that the
     order constituted criminal contempt lacking constitutional safeguards and
     that the fines violate the Eleventh Amendment. The Defendants contend
     that the state is in substantial compliance with the remedial decree. Finally,
     because of the judge’s intemperate conduct on the bench, they seek her
     removal and reassignment of the case to another district judge on remand.
     We VACATE the contempt order, hold that the state has substantially
     complied with Remedial Orders 3 and 10, and REMOVE the district judge.
                                   BACKGROUND
            The underlying facts of this case are thoroughly explained elsewhere.
     See M. D. by Stukenberg v. Abbott (Stukenberg I), 907 F.3d 237, 243–47 (5th
     Cir. 2018). Plaintiffs are a class of minor children who challenged the
     constitutionality of the Texas foster care system under the Due Process
     Clause of the Fourteenth Amendment. Id. at 246. They filed suit in 2011.
     Id. After a bench trial, the district court found in favor of Plaintiffs in 2015
     and awarded “expansive” injunctive relief. Id. at 271. For reasons that need
     not be detailed, this court invalidated or modified numerous aspects of the
     district court’s remedy as not “narrowly tailor[ed].” See id. at 272 (quoting
     Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 586
     (5th Cir. 2013)). In so doing, this court emphasized that it was not suggesting
     that the district court “took . . . lightly” the “intrusion” imposed on the
     state by its “sweeping permanent injunction.” Id. at 271 & n.43. The case




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     was remanded to the district court to modify the remedial decree in light of
     the appellate opinion. Id. at 288.
            On remand, the district court modified the decree, but that
     modification was appealed and reversed in part by this court. See M. D. by
     Stukenberg v. Abbott (Stukenberg II), 929 F.3d 272, 275 (5th Cir. 2019). The
     district court’s modified injunction was reversed because it “reinserted” a
     provision similar to one rejected in Stukenberg I and because it added three
     other provisions that were overbroad or unjustified. Id. at 277–78, 280. In
     no uncertain terms, the Stukenberg II court remanded the case “to the district
     court to begin implementing, without further changes, the modified
     injunction with the alterations we have made.” Id. at 281.
            But the district court further changed the injunction on remand,
     resulting in another appeal. See M. D. by Stukenberg v. Abbott (Stukenberg III),
     977 F.3d 479 (5th Cir. 2020). While this court did “not question the good
     faith of the district judge” at that time, we reversed because the court
     “ignore[d]” the mandate of Stukenberg II. Id. at 482–83. This court again
     remanded, with the same instruction to implement the modified injunction
     “without further changes.” Id. at 483.
            The district court has not further officially modified the terms of the
     injunction since Stukenberg III. This appeal instead involves a 427-page order
     issued by the district court on April 15, 2024. The order found one of the
     state defendants, Cecile Erwin Young, “in her official capacity as Executive
     Commissioner of the Health and Human Services Commission of the State
     of Texas,” in contempt of Remedial Orders 3 and 10 of the injunction. The
     district court imposed a $50,000 daily fine for each order until the Health
     and Human Services Commission (“HHSC”) leadership certifies that it is
     substantially compliant with the orders. The fines therefore total $100,000
     per day.




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              Remedial Order 3 requires the Department of Family and Protective
     Services (“DFPS”) to “ensure that reported allegations of child abuse and
     neglect involving children in the [Permanent Managing Conservatorship
     (“PMC”)] class are investigated; commenced and completed on time
     consistent with the Court’s Order; and conducted taking into account at all
     times the child’s safety needs.” Remedial Order 10 requires, in relevant part,
     that the DFPS “[w]ithin 60 days . . . complete Priority One and Priority Two
     child abuse and neglect investigations that involve children in the PMC class
     within 30 days of intake.” Order 10 permits extensions of the deadline for
     “good cause” when documented in the investigative record. While the
     orders refer only to DFPS, the parties do not dispute that they also apply to
     HHSC because certain DFPS functions were transferred to HHSC in 2020
     as part of an agency-wide reorganization. Together, these Orders essentially
     require Defendants to investigate child abuse and neglect allegations in a
     timely manner that accounts for the child’s safety.
              The district court held Commissioner Young in contempt because
     Provider Investigations (“PI”), a unit within HHSC, failed to comply with
     these two Orders in its handling of thirty-eight abuse and neglect allegations,
     which involved 13 children. In an order dated April 15, 2024, the district
     court ordered Commissioner Young, in relevant part, “to pay $50,000 per
     day until HHSC agency leadership certifies that all [Provider Investigations
     (“PI”)] involving at least one PMC child closed from December 4, 2023 until
     the date of the State’s certification, are substantially compliant with the
     Remedial Order 3.” Another $50,000 per day fine was imposed “until
     HHSC agency leadership certifies that all open PI investigations involving at
     least one PMC child are substantially compliant with Remedial Order 10.”
     This court stayed the contempt order on May 20, 2024. M. D. by Stukenberg
     v. Abbott (Stay Order), No. 24-40248, 2024 WL 2309123 (5th Cir. May 20,
     2024).




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                             STANDARD OF REVIEW
            This court reviews the district court’s order for abuse of discretion,
     but a “district court by definition abuses its discretion when it makes an error
     of law.” Koon v. United States, 518 U.S. 81, 100, 116 S. Ct. 2035, 2047 (1996);
     see also Martin v. Trinity Indust. Inc., 959 F.2d 45, 46 (5th Cir. 1992). The
     issues here are purely legal.
                                     DISCUSSION
            Defendants contend on appeal that the district court imposed a
     criminal contempt sanction without due process and ordered retrospective
     fines in violation of state sovereign immunity. Further, they assert that they
     have established “substantial compliance” with Remedial Orders 3 and 10.
     These dispositive issues are addressed first, followed by Defendants’ request
     to remove the district judge and reassign the case.
        A. Type of Contempt
            When granting the state’s motion for a stay pending appeal, we
     concluded that the state was likely to prevail on the merits of their contention
     that the district court’s contempt order is in fact a criminal contempt. Stay
     Order, 2024 WL 2309123, at *3. As such, the contempt order was issued
     devoid of procedural protections including trial by jury, and the fines were
     intended to punish rather than compensate the movants. Having now
     studied the parties’ briefs on appeal, we are convinced of that conclusion.
     Here, it suffices to repeat a portion of the opinion approving a stay pending
     appeal, followed by comments on the parties’ brief additional arguments.
                   There are two types of contempt—criminal and civil.
            See Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S.
            821, 826–27, 114 S. Ct. 2552, 2556–57 (1994). “Criminal
            contempt is a crime in the ordinary sense, and criminal
            penalties may not be imposed on someone who has not been




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           afforded the protections that the Constitution requires of such
           criminal proceedings.” Id. at 826, 114 S. Ct. at 2556 (citations
           and quotation marks omitted). “In contrast, civil contempt
           sanctions . . . may be imposed in an ordinary civil proceeding
           upon notice and an opportunity to be heard.” Id. at 827, 114
           S. Ct. at 2557. For civil contempt sanctions, “[n]either a jury
           trial nor proof beyond a reasonable doubt is required.” Id. The
           contempt power of courts, as Bagwell explained, is rooted in
           concepts of necessity and arbitrariness. Necessity requires that
           courts be able to enforce their judgments and orders;
           arbitrariness in imposing sanctions is a threat endemic to those
           who hold power that must be confined. Id. at 831–34, 114 S. Ct.
           at 2559–61. Where a contempt order is deemed criminal,
           arbitrariness is cabined by the requirements of a criminal
           proceeding. Id. at 834, 114 S. Ct. at 2561.
                   Whether a contempt order is civil or criminal turns on
           the “character and purpose” of the sanction involved.
           Gompers v. Buck’s Stove & Range Co., 221 U.S. 418, 441, 31 S.
           Ct. 492, 498 (1911). When, as here, the sanction at issue is a
           non-compensatory fine, 5 the sanction is civil if it is “remedial”
           and affords the Defendants the ability “to purge the
           contempt . . . by committing an affirmative act,” but criminal if
           it is “punitive” and “imposed retrospectively for a completed
           act of disobedience, such that the [Defendants] cannot avoid or
           abbreviate the [punishment] through later compliance.”

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                    As the name suggests, a compensatory fine “compensate[s] the
           complainant for losses sustained” because of the contemnor’s conduct
           and must be “based upon evidence of the complainant’s actual loss.”
           United States v. United Mine Workers of Am., 330 U.S. 258, 303, 67 S. Ct.
           677, 701 (1947). The contempt sanction at issue here is clearly non-
           compensatory, as the district court made no “attempt to calibrate the fines
           to damages caused by [Defendants’] contumacious activities” nor does
           the April 15 Order “indicate that the fines were to compensate the
           complainant for losses sustained.” Bagwell, 512 U.S. at 834, 114 S. Ct. at
           2561 (quotation marks omitted). The parties do not argue otherwise.




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           Bagwell, 512 U.S. at 828–29, 114 S. Ct. at 2558 (citation and
           quotation marks omitted). Critically, “a contempt [sanction]
           is considered civil only when the punishment is wholly
           remedial.” In re Stewart, 571 F.2d 958, 964 n.4 (5th Cir. 1978)
           (emphasis added). “When the punishment is partly remedial

           dominant and fixes its character for purposes of review.’” Id.
           (quoting Nye v. United States, 313 U.S. 33, 42, 61 S. Ct. 810, 813
           (1941)).
                   The Plaintiffs’ argument that the Defendants can purge
           the contempt entirely simply by certifying substantial
           compliance falls short because much of the April 15 Order
           squarely focuses on whether the Defendants’ past conduct was
           in compliance with the Remedial Orders 3 and 10. The April
           15 Order requires the Defendants to pay $100,000 per day until
           they certify that certain investigations “closed from December
           4, 2023 until the date of the State’s certification, are
           substantially compliant with the Remedial Order 3” and that
           other “open” investigations” comply with Remedial Order 10.
           The Defendants can do nothing to render any already-untimely
           investigations timely. The court’s order, after all, specifies
           investigations that were closed months before April 15 and
           “open” investigations that may have become untimely vis-à-
           vis Remedial Order 10 before April 15. Moreover, the
           Defendants cannot complete open investigations or correct
           past investigations that failed to adequately consider the safety
           of children overnight, but that is exactly what the court’s order
           requires by imposing per diem fines that begin immediately.
           This leaves the Defendants no realistic opportunity to purge
           the contempt, and reveals that the April 15 Order is at least
           partially intended to punish Defendants’ “completed acts of
           disobedience,” which renders the sanction criminal. 6

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                      “[T]he imposition only of serious criminal contempt fines
           triggers the right to jury trial” and, therefore, “[p]etty contempt . . . may




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                  This conclusion is buttressed by the fact that the
           challenged violations of the remedial orders occurred out-of-
           court and involved a “complex” injunction. As Bagwell stated,
           “[c]ontempts involving out-of-court disobedience to complex
           injunctions often require elaborate and reliable factfinding”
           and, therefore, certain “criminal procedural protections” are
           required “to protect the due process rights of parties and
           prevent the arbitrary exercise of judicial power.” 512 U.S. at
           833–34, 114 S. Ct. at 2560–61.
                   The Plaintiffs insist that the April 15 Order does not
           involve a “complex” injunction because Defendants were
           sanctioned for violating only two of the sixty remedial orders.
           The Plaintiffs’ argument misses the forest for the trees. It
           overlooks that the district court’s injunction contained more
           than sixty remedial orders. In characterizing an “injunction
           that prescribes a detailed code of conduct,” it is more
           appropriate to assess the entire injunction as opposed to taking
           a piecemeal approach. See id. at 835–36, 114 S. Ct. at 2561 (“In
           a case like this involving an injunction that prescribes a detailed

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           be tried without a jury.” Bagwell, 512 U.S. at 837 n.5, 114 S. Ct. at 2562
           n.5. But in Bagwell, the Court did “not answer . . . the difficult question
           where the line between petty and serious contempt fines should be drawn”
           because the $52 million fine imposed in that case “unquestionably [was] a
           serious contempt sanction.” Id. Were the fines to accrue unabated
           between April 15 and the June 26 compliance hearing, the Defendants
           would be on the hook for $7.2 million. Our sister circuits have held that
           far lesser fines require a district court to afford the protections used in the
           criminal process. See Jake’s, Ltd. v. City of Coates, 356 F.3d 896, 902–04
           (8th Cir. 2004) ($68,000, based on a $1,000-per-day penalty); Mackler
           Prods., Inc. v. Cohen, 146 F.3d 126, 128–30 (2d Cir. 1998) ($10,000); see
           also In re John Richards Homes Bldg. Co., 552 F. App’x 401, 416 (6th Cir.

           noncompensatory award of punitive damages because the $2.8 million
           awarded below is serious under any definition.”). For these reasons, the
           fine imposed in the April 15 Order appears to rise to the level of “serious,”
           such that the Defendants are entitled to a jury trial.




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           code of conduct, it is more appropriate to identify the character
           of the entire decree.”).
                   But even if we were to circumscribe our assessment of
           the injunction to Remedial Orders 3 and 10, we would still
           conclude that the injunction is complex. These remedial
           orders require an agency, which as of 2018 was “responsible
           for roughly 29,000 children,” 7 to conduct investigations of
           child abuse and neglect in a timely manner while “taking into
           account at all times the child’s safety needs.” That is no small
           task, as demonstrated by the fact that the order explaining the
           Defendants’ noncompliance with these remedial orders is
           voluminous. And even considering just the two Remedial
           Orders at issue, the Defendants conducted thousands of
           investigations during the period covered by the court’s
           hearing, and the monitors found noncompliance in just over
           three dozen instances, involving about 13 children. We do not
           minimize the Defendants’ shortcomings in these matters, but
           violations committed by the Defendants on a very small scale
           in relation to the magnitude of the institution, the prescriptive
           orders, and the overall numbers of children can be better put in
           perspective by a jury.
                   If further analysis were needed, the contrast between
           the contempt order in this case and that in Bagwell, which the
           Supreme Court unanimously held criminal, is instructive. The
           “complex” labor injunction in that case prohibited the union,
           inter alia, from obstructing ingress and egress to the mining
           company facilities, throwing objects at and physically
           threatening company employees, placing “jackrocks” on roads
           to damage vehicles, and exceeding certain numbers of
           picketers. Id. at 823, 114 S. Ct. at 2555. This doesn’t seem very
           “complex” when placed against the wide-ranging scope of
           remedial orders that have reorganized the entire foster-care
           system in Texas to the tune of the state’s expenditure of over
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                      Stukenberg I, 907 F.3d at 243.




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            $100 million in compliance costs to date (plus over $55 million
            to monitors).
                    In Bagwell, the Court paid little heed to the trial court’s
            attempt to characterize its schedule of fines as “prospective”
            only, and the Court noted the “elusive distinctions” between
            civil and criminal contempt fines. Id. at 830, 836, 114 S. Ct. at
            2559, 2561–62. Here, regardless of the district court’s
            characterization, it is almost impossible to escape the
            conclusion that the fines imposed by the April 15 Order are at
            least partially retrospective in nature.
     Id. at *2–4.
            In their brief to this court, the Plaintiffs additionally assert that the
     contempt order is civil, not criminal, because its goal is to coerce the state to
     abide by the court’s remedial decree going forward. Accordingly, the fines
     may be “suspended” when the defendant “substantially complies” with
     Remedial Orders 3 and 10. Plaintiffs contend that “substantial compliance”
     means merely “taking all reasonable means” to comply with the orders
     covering investigations involving a PMC child within 60 days.
            There are several problems with this optimistic reading of the
     contempt order. First, although the district court defined “substantial
     compliance” to refer to “all reasonable steps” in an early definitional section
     of its 427-page order, the contempt order does not specifically cross-
     reference that definition and, in fact, supersedes it. See M. D. by Stukenberg
     v. Abbott (Contempt Order), No. 2:11-CV-00084, 2024 WL 2317348, at *12
     (S.D. Tex. April 15, 2024). The court requires a “complete submission” by the
     state concerning substantial compliance with Remedial Order 3 and the list
     “of all PI investigations involving at least one PMC child closed between
     December 4, 2023 and the date of the State’s certification.” Id. at *228
     (emphases added). The court also requires a detailed list of all open PI
     investigations involving at least one PMC child to fulfill Remedial Order 10,




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     the 30-day investigation order, which must be produced to the court
     Monitors, and also a “complete submission of the foregoing [verification] by the
     State.” Id. (emphases added).
            Second, in addition to its bureaucratic formulation of substantial
     compliance with each remedial order, the court warns that its Monitors “will
     conduct a case record review of the cases identified [for Remedial Order 3]”
     and “will review the State’s [Remedial Order 10] submission and report their
     findings to the Court.” Id. Only under these circumstances will the court
     “suspend” the fines. Further, in a footnote the court advises, “[t]his in no
     way waives the Court’s retention of jurisdiction for a period of three years
     after full compliance as certified by the Monitors.” Id. at *228 n.305. This
     language, all told, looks more like conditions of “supervised release” for
     parolees than adjudication of substantial compliance.
            Third, “suspension” of fines is not the same as “erasure” or
     “removal” or “cancellation.”           Suspension connotes temporary or
     conditional relief from the fines, without cancelling them. If that is what the
     court meant, then the state has no assurance that the fines will not be revived
     when the court espies some additional default in the state’s obeying the two
     remedial orders or complying precisely with its dictated contempt order
     compliance conditions.
            Not only are the terms of the contempt order at odds with a rational
     path to substantial compliance, but the Plaintiffs’ own conception of
     substantial compliance is entirely hypothetical. Plaintiffs assert that the state
     can substantially comply by documenting good cause for extending PI
     investigations that were already out of date when the court issued its April 15
     order and by quickly finishing its delayed investigations. But, as just noted,
     the court ordered substantially more than those basic tasks, and ultimate




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     “suspension” of the fines seems to lie in the court’s subjective notion of
     compliance.
             The Plaintiffs alternately contend that even if the district court’s
     order represents criminal contempt, this court should affirm its findings and
     remand for a non-retrospective, compensatory remedy appropriate to civil
     contempt. Their theory is based largely on the state’s failure to challenge the
     factfindings of noncompliance. This argument, however, misses the point of
     the cases. In a criminal contempt proceeding, the state would have been
     entitled to a jury trial and conviction by proof beyond a reasonable doubt. See
     Bagwell, 512 U.S. at 826–34, 114 S. Ct. at 2556–61. As earlier explained, the
     trappings of criminal procedure are constitutionally required to protect a
     party from judicial arbitrariness. Consequently, this court’s practice has
     been to reverse invalid contempt orders. See, e.g., In re Stewart, 647 F.3d at
     558; Crowe v. Smith, 151 F.3d 217, 240–41 (5th Cir. 1998). 1 In addition to this
     adverse precedent, further doubt is cast on any potential remand by the
     state’s argument that the court’s findings were legally deficient because they
     were based on violative actions not readily inferable from the terms of
     Remedial Orders 3 and 10. A party may only be held liable for contempt of a
     court order’s specific, “express or clearly inferrable obligation[s].” See
     Hornbeck Offshore Servs., L.L.C. v. Salazar, 713 F.3d 787, 793 (5th Cir. 2013).
     Remand would not cure an inherent legal error by the district court. And
     even more potently, the state compellingly defends its substantial compliance
     with these Remedial Orders. In sum, we may not treat this criminal contempt
     order and sanctions as quasi-civil and amenable to remand.


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               Plaintiffs’ reference to Lamar Financial Corp. v. Adams is inapposite because this
     court reversed one invalid criminal contempt sanction in that case while affirming a valid
     civil contempt sanction. 918 F.2d 564, 567–68 (5th Cir. 1990).




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        B. State Sovereign Immunity
            The contempt fines are also unconstitutional in violation of state
     sovereign immunity. “[W]hen a plaintiff sues a state official alleging a
     violation of federal law, the federal court may award an injunction that
     governs the official’s future conduct, but not one that awards retroactive
     monetary relief.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89,
     102–03, 104 S. Ct. 900, 909 (1984) (citing Edelman v. Jordan, 415 U.S. 651,
     666–67, 94 S. Ct. 1347, 1357–58 (1974)). Determining whether a contempt
     fine is punitive dictates whether it violates state sovereign immunity. Both
     analyses collapse around the question of whether the punishment’s purpose
     is retrospective or instead aimed at coercing a change in future conduct.
            The Court explicitly permitted the imprisonment of a state official for
     civil contempt in Ex parte Young, 209 U.S. 123, 28 S. Ct. 441 (1908). There,
     the lower court ordered that a state attorney general “should stand
     committed to the custody of the marshal until” he obeyed an earlier court
     order. Id. at 126, 28 S. Ct. at 443. That is a civil contempt sanction because
     it was coercive, aimed at changing the official’s conduct and allowing him an
     opportunity “to purge the contempt . . . by committing an affirmative act.”
     Bagwell, 512 U.S. at 828, 114 S. Ct. at 2558. The Court has repeatedly aligned
     its state sovereign immunity jurisprudence around this distinction. See, e.g.,
     Milliken v. Bradley, 433 U.S. 267, 290, 97 S. Ct. 2749, 2762 (1977) (“We
     therefore hold that such prospective relief is not barred by the Eleventh
     Amendment.”); Quern v. Jordan, 440 U.S. 332, 337, 99 S. Ct. 1139, 1143
     (1979) (“The distinction between that relief permissible under the doctrine
     of Ex Parte Young and that found barred in Edelman was the difference
     between prospective relief on one hand and retrospective relief on the
     other.”); see also Hutto v. Finney, 437 U.S. 678, 690–92 & n.17, 98 S. Ct. 2565,
     2573–74 & n.17 (1978). Criminal contempt sanctions like those at issue here
     punish the state’s past malfeasance in violation of the Eleventh Amendment.



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            The federalism concerns do not end there. In the contempt order, the
     district court “direct[ed] the Clerk of the Court to segregate and preserve all
     funds paid in accordance with this Order for the benefit and use of PMC
     foster care children, to be determined by future order of the Court.” 2024
     WL 2317348, at *228.          Relatedly, because Plaintiffs’ attorneys are
     representing their clients pro bono, they have given control of the attorney’s
     fees they would have received to the district court, to be placed in trust for
     the children.    This use of the attorney’s fees and contempt fines is
     reminiscent of the invocation of cy pres in the class action settlement context,
     in which district judges distributed leftover settlement funds to charities
     whose purpose purportedly related to the original lawsuit. See, e.g., Wilson v.
     Sw. Airlines, Inc., 880 F.2d 807 (5th Cir. 1989). These arrangements raise


     a bilateral private rights adjudicatory model into a trilateral process.’” Klier
     v. Elf Atochem N. Am., Inc., 658 F.3d 468, 481 (5th Cir. 2011) (Jones, C.J.,
     concurring) (quoting Martin H. Redish et al., Cy Pres Relief and the Modern
     Class Action: A Normative and Empirical Analysis, 62 Fla. L. Rev. 617, 641
     (2010)). Federalism concerns are also heightened here, where a federal
     district court is obtaining these funds not from the surplus of a class action
     settlement fund, but rather from the attorney’s fees and contempt fines it
     chooses to excise from the state. As in Klier, “these questions are neither
     briefed nor presented for review here,” but they warrant this aside
     considering their exacerbation of the state sovereign immunity and Due
     Process violations of the district court’s contempt fines. See id. (Jones, C.J.,
     concurring).




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         C. Substantial Compliance
             If Plaintiffs had succeeded in showing contempt, 2 the burden would
     shift to Defendants to show “substantial compliance” with the Remedial
     Orders. Substantial compliance is an absolute defense to civil contempt.
     United States v. Barnett, 346 F.2d 99, 100 (5th Cir. 1965). The court also
     considers good faith, or lack thereof. See Whitfield v. Pennington, 832 F.2d
     909, 914–15 (5th Cir. 1987) (describing a party’s characterizations of its
     compliance attempts as “misleading”); see also Anderson v. Sch. Bd. of
     Madison Cnty., 517 F.3d 292, 297 (5th Cir. 2008) (relying on “good faith”
     efforts to comply “to the extent practicable” in reviewing a district court’s
     grant of complete relief from an order under a more stringent standard). The
     state endeavored in good faith to comply with the court’s orders. For
     example, it spent over a hundred million dollars, overhauled internal policies,
     and lobbied for additional assistance from the Texas legislature.
             The district court’s contempt order never found bad faith. Whether
     compliance was done in good faith or bad faith is relevant to whether it was
     substantial.3 As the district court recognized, the “reasonableness of the al-
     leged contemnor’s attempts to comply” is the “touchstone” of a substantial
     compliance defense. Contempt Order, 2024 WL 2317348, at *12–13 (collect-
     ing cases). And whether compliance was reasonable and substantial turns at
             _____________________
             2
               The state also contends that the court’s findings on contempt were not supported
     by “clear and convincing evidence” and that the terms of Remedial Orders 3 and 10 are too
     vague to support the district court’s findings. We need not parse every detail of the
     evidence in evaluating those other arguments in support of reversal because this court holds
     that the district court imposed a criminal contempt sanction without the requisite criminal
     procedural protections and in violation of state sovereign immunity.
             3
               Plaintiffs claim that Defendants did not sufficiently brief a good faith defense to
     have it considered on appeal. Good faith, however, is not a specific “defense” to contempt
     but is among the factors a court may consider in regard to substantial compliance. That
     point is not waived.




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     least in part on whether Defendants were acting in good faith or bad faith.
     Defendants’ good faith bolsters their substantial compliance defense.
              If possible, comparing the extent of a party’s compliance with the
     extent of its noncompliance is persuasive. U.S. Steel Corp. v. United Mine
     Workers of Am., Dist. 20, 598 F.2d 363, 368 (5th Cir. 1979) (holding that after
     a district court ordered a union to notify its striking workers of a court order,
     the union’s failure to attempt to notify three quarters of those workers made
     compliance not substantial). That approach works well in this case because
     whether compliance was substantial turns in large part on how many subject
     investigations were compliant and how many were not.
              The parties dispute whether this court should consider HHSC’s
     noncompliance by itself, or compare it with DFPS’s compliance. Plaintiffs
     argue for the former approach because the district court only found
     noncompliance in PI investigations for which HHSC is exclusively
     responsible. From that vantage point, Plaintiffs observe, the monitors found
     that “55%” of investigations conducted by HHSC in a four-month period
     concerning PMC children were deficient, and “of those, 100% involved
     violations of Remedial Order 3, and 82% involved violations of Remedial
     Order 10.” 4 Plaintiffs’ perspective ignores the text of the Remedial Orders
     and the history of these agencies. Both orders cover more than just PI
     investigations, and both orders referenced only DFPS by name. That is
     because DFPS handled PI investigations initially, but the responsibility for
     handling them was moved to HHSC in 2020, five years after the district court
     first enjoined the state defendants.



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              4
                  The monitors reviewed 69 investigations done during that period in 2023 in
     depth.




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            Under the remedial orders themselves and the original agency
     structure, a substantial compliance analysis must compare the overall
     compliance of DFPS with overall noncompliance, as the statewide agency
     was responsible for all child abuse and neglect investigations under the
     remedial decree. Limiting the comparison at this juncture to HHSC alone,
     when the agency’s restructuring was accomplished to improve the policies
     and practices condemned by the district court, would be tantamount to
     punishment. “[E]quity looks beyond superficial distinctions such as these.”
     Freedom From Religion Found., Inc. v. Abbott, 58 F.4th 824, 837 (5th Cir.
     2023). Rather, it “looks to the substance and not merely to the form.” Young
     v. Higbee Co., 324 U.S. 204, 209, 65 S. Ct. 594, 597 (1945). And it would be
     inappropriate under the text of the orders to examine substantial compliance
     only with respect to the PI investigations when the orders are comprehensive
     of the plaintiff class.
            Together, DFPS and HHSC conduct thousands of investigations that
     are subject to Orders 3 and 10. The district court’s contempt order focused
     on 64 PI investigations with dispositions of “Unconfirmed” or
     “Inconclusive” between January 1, 2023, and April 30, 2023, plus five earlier
     PI investigations concerning related conduct involving the same PMC
     children. The monitors disagreed with the disposition of 38 of those 69
     investigations, but that disagreement does not even include the 37 other
     investigations in the reviewed time period in which allegations were
     confirmed. Regardless, these are all just a drop in the bucket of systemwide
     investigations subject to Orders 3 and 10. Of the 954 investigations closed in
     a period spanning 2021 and 2022 that the monitors reviewed for Order 3
     compliance, the monitors agreed with the disposition of 95% of the
     investigations.
            Moreover, in reviewing over 1,500 investigations opened during a
     mostly overlapping 2021 through 2022 period, the monitors found 73%



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     compliance with Order 10. In a 2022 through 2023 period, the monitors
     reviewed over 1,600 investigations and found 84% compliance. There was
     significant improvement from 2019, when the monitors found that only 21%
     of relevant investigations complied with Order 10. And these results assume
     that the monitors did not overestimate noncompliance if some
     documentation was unclear. The district court therefore erred in not finding
     that Defendants substantially complied with Orders 3 and 10.
        E. Reassignment
             The final issue in this appeal is Defendants’ request that this case be
     reassigned to a different district judge on remand. See 28 U.S.C. §§ 455,
     2106.    Reassignment “is an extraordinary power and should rarely be
     invoked.” United States v. Winters, 174 F.3d 478, 487 (5th Cir. 1999). We
     have carefully considered the record and the applicable law before concluding
     that this case must be reassigned to another judge. As this court originally
     found, the state of Texas had seriously neglected the management of its foster
     care system, resulting in constitutional violations against vulnerable children
     that this court affirmed. Nearly a decade has passed since the district court
     entered its first judgment ordering remedial relief. The state has been under
     constant, intrusive, and costly surveillance by a team of monitors and the
     district court ever since. The state asserts, without contradiction, that it has
     spent $150 million attempting to comply with the court’s remedial decrees
     and another $60 million on the monitors. But not only has the district court
     clearly indicated an intent to continue oversight well into the future, but as
     will be seen, this contempt order seems a harbinger of even more drastic
     district court micromanagement. Against this background we have had to
     decide the difficult issue of removal.
               This court “has not decided which of two tests should be used to
     decide whether to reassign a case.” Id. Under a more formal approach, this




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     court considers three factors: (1) “whether the original judge would
     reasonably be expected upon remand to have substantial difficulty” in
     putting aside her previously expressed but inappropriate views, (2) “whether
     reassignment is advisable to preserve the appearance of justice,” and (3)
     “whether reassignment would entail waste and duplication out of proportion
     to any gain in preserving the appearance of fairness.” Johnson v. Sawyer, 120
     F.3d 1307, 1333 (5th Cir. 1997) (citations omitted).
            This court also asks the more straightforward question “whether the
     judge’s role might reasonably cause an objective observer to question [the
     judge’s] impartiality.” Miller v. Sam Houston St. Univ., 986 F.3d 880, 893
     (5th Cir. 2021) (alteration in original) (citations and quotations omitted).
     This means that reassignment can be appropriate “not just when actual bias
     or prejudice exists.” Johnson, 120 F.3d at 1333. Because “the second factor
     of the first test is virtually identical” to this simpler approach, the “result of
     each test has always been the same.” United States v. Khan, 997 F.3d 242,
     249 n.4 (5th Cir. 2021). This court analyzes the two tests together because
     of this “redundancy.” Id.
            Beginning with the first factor, a judge might “reasonably be expected
     upon remand to have substantial difficulty” putting aside previously
     expressed but inappropriate views when there has been a repeated failure to
     follow the mandate of an appellate court. See In re DaimlerChrysler Corp., 294
     F.3d 697, 700 (5th Cir. 2002) (quoting Simon v. City of Clute, 825 F.2d 940,
     943–44 (5th Cir. 1987)). Doing so can make “clear that [the judge] is fixed
     in his view” of a case. Khan, 997 F.3d at 249.
     almost never constitute a valid basis’ for finding bias or partiality.” Test
     Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 581 (5th Cir. 2005) (quoting
     Liteky v. United States, 510 U.S. 540, 555, 114 S. Ct. 1147, 1157 (1994)). As
     discussed at the outset, this is this court’s fourth review of this case. In
     Stukenberg II and Stukenberg III, this court reversed the district court



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     following the district judge’s apparent disregard for this court’s instructions.
     929 F.3d at 276; 977 F.3d at 482. This court described the district judge as
     “well-intentioned” and as acting in “good faith” in each of those cases,
     respectively. 929 F.3d at 278; 977 F.3d 483.
            Although bad faith would be highly indicative of a need to reassign this
     case, good faith is no safe harbor. In re DaimlerChrysler Corp., 294 F.3d at
     701 (“[N]otwithstanding all good faith efforts on the part of the district court,
     it would be exceedingly difficult for the district court to regain some
     impartiality in this case.”).    And the district judge’s statements since
     Stukenberg III strongly suggest that she has become “fixed in [her] view.”
     Khan, 997 F.3d at 249. For example, the Stukenberg II court invalidated as
     overbroad the district court’s requirement that state create an integrated
     computer system. 929 F.3d at 279. But at a later hearing, the district judge
     remarked: “I know the Fifth Circuit prohibited me from talking about a new
     computer system, but I’m going to talk about it anyway . . . .” At the
     contempt hearing underlying this appeal, the district judge again raised this
     matter:
            We’ve asked over and over again. I even asked [Defendants] if
            you could find somebody — if somebody in the community
            could find somebody to do — even though the Fifth Circuit and
            I — and I respect their wisdom on this. The Fifth Circuit
            overruled or vacated the order to do a unified computer
            system. There may be somebody out there that could donate
            the money to do that for the sake of the children. And I asked
            for a response . . . if somebody could find that, could you-all
            respond if you would accept it. No response.
            And even after Stukenberg III, which firmly ordered the judge not to
     further modify the remedial decree, she imposed extraneous orders on the
     state to (a) provide information about children’s Covid vaccine refusals; (b)
     expand children’s mental health care services; and (c) produce documents




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     not relevant to the Remedial Orders under threat of contempt for
     noncompliance.
            Our comprehensive review of the district judge’s conduct throughout
     the three-day contempt hearing in December 2023 that brought this issue to
     fruition repeatedly exhibits a highly antagonistic demeanor toward the
     Defendants. The district court, to begin with, urged and instigated the
     Plaintiffs for several months to seek contempt. During the hearing, the judge
     repeatedly questioned the Defendants’ unwillingness to exceed the
     requirements of the remedial decree: “I told the State that this is not anything
     to do with the Court, but they have resources in these monitors . . . that they
     can use. . . . Nothing. Nothing.” And toward the end of the hearing: “[I]t
     doesn’t hurt to go over and above, not just the minimum standards, but over
     and above.” And relatively soon thereafter: “I’m thankful to the public
     attention that the press has shown this. Sometimes it’s just very important
     to call this out to the public, and that’s the organ to do that.” The court’s
     interest in whether the state’s actions exceeded the scope of its remedial
     injunctive orders suggests the court has a “substantial difficulty” moving
     past the previously invalidated, overbroad remedial orders.
            The district judge also showed signs of being dug-in on her
     interpretation of the remedial decree during the contempt hearing:
            THE COURT: “And you do realize that to get off monitoring
            you have to completely, fully comply. It’s not substantial
            compliance. Did you know that?”
            COUNSEL: “Your Honor, our view is that the Fifth Circuit
            has held a substantial compliance with court orders —”
            THE COURT: “Let me explain to you one more time. This
            order that was affirmed said full compliance. . . . You-all tried




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             to appeal that and could not do it.[ 5] Did you know that? Were
             you aware of that history? . . . And that Fifth Circuit, as Ms.
             Ho knows her husband[ 6] issued very clearly that we cannot go
             outside the mandate.”
     The district judge continued this line of commentary about appellate review
     in this case:
             And I know y’all are waiting for me — and Ms. Ho — and I
             don’t know why, waiting for me to issue some order that you
             think you can take immediately up to the Fifth Circuit and get
             rid of heightened monitoring or get rid of this or get rid of that.
             . . . I know you have children, Ms. Ho, and you care about
             them, too, like I care about these children. So please, please,
             let’s work together.
     Later in the contempt hearing, amid further arguments by counsel about the
     interpretation of Remedial Order 3 in particular, the judge stated:
             This is the problem we have. You got it? [Counsel are] trying
             to parse out — and it’s the most incredible thing instead of just

             we’ve got to parse out this — ridiculous, ridiculous things.
             And it’s so difficult to have — over the years the State has a
             shifting sands of positions on how to address these things,
             depending on new counsel, ex-counsel, new commissioners.
             And it’s almost impossible to follow, and nothing good comes
             of it for the children, and it’s incredibly frustrating.
     See Johnson, 120 F.3d at 1335 (reassigning after the judge, among other
     things, touted that he had the “job and responsibility of determining what the


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              This court declined to reach the issue in Stukenberg II because the state waived it.
     929 F.3d 272, 281 (5th Cir. 2019).
             6
               Defense counsel’s husband is a judge of this court, who authored Stukenberg III
     before his wife was retained by Defendants.




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     rule of law is and how to interpret it,” said there was “no basis” for witnesses
     to tell him otherwise, and chastised the witnesses with marked sarcasm).
             These statements not only speak to the first factor, but they also raise
     serious questions concerning the second factor, “the appearance of justice.”
     Johnson, 120 F.3d at 1333. A “high degree of antagonism” can be cause for
     reassignment under this factor, but it requires “more than intemperate
     remarks.” Johnson, 120 F.3d at 1335 (first quote); United States v. Stanford,
     883 F.3d 500, 516 (5th Cir. 2018) (second quote). A lengthy exchange
     highlighting these concerns occurred at the beginning of the contempt
     hearing, when the district judge asked numerous questions about
     Defendants’ objections to the accuracy of the monitors’ findings. 7
     Defendants claimed they “were not noticed that these objections would be
     ruled on” at the hearing, to which the district judge replied: “Listen, it
     doesn’t matter that you weren’t noticed.”
             The judge’s mode of questioning about these objections is
     inappropriate. See Johnson, 120 F.3d at 1334 (reassigning in part because
     although “the district judge was justifiably concerned about truthfulness by
     the witnesses. . . . we question the extent, and manner by which, he pressed
     that concern”). Close to the beginning of this discussion, early on the first
     day of the contempt hearing, the district judge stated: “I’m disappointed . . .
     that the Defendants are not actually reading the report and checking before
     they file these kind of objections.” This accusation came before counsel had
     an opportunity to explain those objections at the hearing. The court’s

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               The objections discussed during this part of the contempt hearing included the
     monitors’ classification of certain foster care facilities as adult or non-adult facilities, the
     monitors’ findings in individual complaints of misconduct, the monitors’ use of a
     supposedly state-provided seven-to-one caseworker-to-supervisor ratio in their reports,
     and the total number of closed cases that the monitors reviewed in composing their reports.




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     aversion to Defendants’ objections grew clearer as the discussion turned to
     the monitors’ classification of a certain facility: “And then you-all actually
     had the nerve to object that that was not an adult foster care facility?” The
     judge later remarked on the same subject: “I don’t want to waste everybody’s
     time with addressing these ridiculous, spurious objections. . . . You have my
     class of children rooming with adult foster care people. And that’s the
     bottom line.” And to another objection, the court commented: “[T]his is
     stunning. Look at this one.”
            The judge’s reaction to one objection about the appropriate scope for
     evaluating Defendants’ substantial compliance defense is particularly
     notable, as that is one ground on which this court now reverses: “Oh, no, I’m
     not going to pay any attention to that. That’s like — that’s like those little
     kids don’t matter because it’s — they’ve substantially complied, because
     most investigations in DFPS and most investigations elsewhere are just
     fine.” See Latiolais v. Cravins, 574 F. App’x 429, 537 (5th Cir. 2014)
     (reassigning because “it would be exceedingly difficult for [the judge] to put
     aside the views he expressed about the evidence against [Defendant] that we
     deem substantial. For example . . . he expressed the intemperate view:
      There is no way on God’s green earth that there has been any testimony that
     should hold [Defendant] into this case. There was none. It was—it is not
     there. It’s not there.       It’s clearly not there.   I heard no evidence
     whatsoever.’”).
            Along with these comments about the objections, the district judge
     accused Defense counsel of Rule 11 violations: “You know what the Rule 11
     requirements are. . . . [T]hat may be a subject for another hearing.” The
     judge continued: “So perhaps you did not properly when you signed your
     name to this objection to [sic] make inquiries or read the prior records or the
     prior Monitors’ reports. I think you get where we’re going now, [counsel].
     Is it sinking in? Slowly?”



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            On this topic and others, the district judge often criticized the State’s
     litigation strategy and corresponding expenses. For example:
            Prior objections from the state were really spelling, name —
            name corrections, typos. Now we’re talking about substantive
            objections to actually information provided to the Monitors
            word for word by the State. And that, of course, runs up
            billable hours for your firm, incredible scores of hours for the
            Monitors to rebut these many times spurious objections, all
            money that could go to the children.
     The judge later returned to the subject of billable hours: “I’m just saying that
     this is such a waste of time for your billable hours, for the Monitors’ billable
     time. And I get paid no matter what. It’s no waste of time. I’m here for you-
     all, all day, all night, whatever.” And again, still in the context of these
     objections:
            And let me say something else while I’m jumping on you. . . .
            But at some point I have to step in and say let’s not do this. We
            don’t need to argue about every single thing, especially
            unnecessarily taking away money from the kids. And I know
            that’s not your point, that you didn’t do this for that. You’re
            representing your client. But may I ask if we could have an
            attitude shift on this of more cooperative for the sake of the
            children?
     The court continued to discuss the objections for some time following this
     call for peace.    At the end of the contempt hearing, after the judge
     commented to the Defendants that “it doesn’t hurt to go over and above”
     the orders in the remedial decree, the judge remarked:
            The Children’s attorneys have been fantastic and given it their
            all. And I thank the State’s attorneys too. I’m just sorry we’re
            having a contempt motion and having these hearings. I just
            wish that instead of paying for all of this, all the time, the people
            of Texas could help us — help you-all understand that this is
            an important, very important subject . . . .




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     Money again came up in one witness examination:
           WITNESS: “They’ve got money. They are spending it
           instead trying to do everything to not follow your orders.”
           THE COURT: “I’m aware. . . .             [T]hey’re trying to do
           workarounds of my orders . . . .”
     See Johnson, 120 F.3d at 1335–36 (reassigning after the judge, among other
     things, said that he was “concerned about how we spend our money in this
     United States of America” and that “the tax payers should not be paying 10–
     $15 [sic] million out because it doesn’t cost [the government] anything to
     come down here to try this case.”).
           In an earlier status conference, the judge even mixed the state’s
     performance of the remedial decree with an extraneous federal program.
     There, the judge brought up the Family and First Preservation Services Act,
     42 U.S.C. §§ 670–679, and specifically its grant of federal funds to state
     programs that meet the relevant criteria to be “qualified residential
     treatment programs.” Id. § 672. The judge remarked:
           But here is what I understand, that you-all have no intention of
           bringing any of those RTCs, Residential Treatment Center,
           treatment programs, into compliance with that 2018 Act. So
           you have notified the State, the Legislature, that you have an
           expected loss of 17.4 million in federal support in fiscal year
           ’22, another 25.6 million in fiscal year ’23. Now that’s giving
           up a whole lot of money for these children, while still
           complaining, I might add, as an aside of the Monitors’ fees, as
           well as it makes me wonder what on earth I could fine you by
           way of sanctions if you have not complied . . . if you can throw
           away some $40 million without a by [your] leave, because you
           can’t bring these RTCs up to — what looks to me like pretty
           minimal requirements to get this money.
     And in another pre-contempt hearing status conference, when discussing
     apparent issues with certain electronic medical databases, the judge stated:




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     “I mean, I’ve got to give the Plaintiffs—at least [Counsel], a bunch more
     money.” 8
             Returning to the contempt hearing, when it began in earnest the
     district judge’s remarks continued in a vein that failed to demonstrate
     disinterestedness and evenhandedness. Defendants opted not to call any
     witnesses as experts, to which the judge remarked: “I think you need lots of
     experts, but that’s only my opinion.” When swearing in one group of
     witnesses, the district judge asked: “Have you-all heard from Commissioner
     Young? How is she doing?” One witness replied: “Haven’t heard from
     her.” The judge then stated: “Nobody cares.”
             This appears to reference the subject of an earlier status conference.
     There, the district judge ordered the HHSC commissioner to appear for a
     hearing two days after emergency surgery, even though her doctor provided
     her with a note saying that she should refrain from work. The judge described
     this as a “high school test note” and opined on what the recovery time should
     be. In the end, the judge did not order the Commissioner’s attendance, but
     described      that    absence       as    “obstructive,”       “maddening,”          and
     “disappointing.” She also suggested that Defense counsel wanted an order
     forcing the Commissioner to attend so that Defendants could seek
     mandamus relief from this court. See In re DaimlerChrysler Corp., 294 F.3d
     at 700–01 & n.1 (reassigning after the district judge demonstrated “hostility”
     in responding to mandamus proceedings he called “baseless”).
           Before the first witness examination at the contempt hearing, Defense
     counsel objected on the ground that DFPS Commissioner Muth should be

             _____________________
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              As is noted supra, by “giving the Plaintiffs money,” the court is determining that
     what would otherwise be counsel fees pursuant to 28 U.S.C. 1988 is being directed to a
     fund “for the children” at the court’s disposal.




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     excused because, as a potential witness, she should not be present for other
     witness testimony under Federal Rule of Evidence 615. When the district
     judge maintained that the Commissioner was to remain in attendance,
     Defense counsel began asking if the district judge was overruling the
     objection. Not content simply to overrule the objection, the district judge’s
     response in cutting off Defense counsel is notable: “Don’t go there, counsel.
     You’re just annoying me. And that is bad form. And I’m about to hold you
     in [in-court] contempt. . . . So you are very close, [counsel], to be held in
     contempt yourself. Do you want that on your malpractice insurance?” The
     judge continued: “Now, when I give an order, I don’t want you arguing with
     it again. Is that clear?”
            Soon thereafter, the court mentioned the medical reason for which
     Commissioner Young’s presence at the hearing was excused, to which
     Defense counsel objected because it was a public hearing. The judge replied:
     “Yes, it is. And don’t object to my comment, sir. And stand when you
     address the Court. . . . And do not — do not argue with my orders again.
     We’ve already been through this. . . . And, yes, I know this is a public
     hearing, sir. You don’t need to call that to my attention. And you-all are
     getting off to a very bad start here.”
            The judge made several other remarks during the examination of
     witness that imply bias. In response to a Defense objection to a direct
     examination question that counsel said was “vague . . . and compound and
     mischaracterizes what the actual document is,” the judge responded: “I
     don’t understand your objection, so I’m going to overrule it . . . your
     objection is compounding and confusing.” After another Defense objection,
     the judge said: “Counsel, I interrupted you before and told you to sit down.
     I shouldn’t have done that. If you want to clarify something, go ahead. It’s
     just hard to listen. It's hard to listen to what [the witness] has to say.” At
     the end of this witness’s direct examination, the court discussed the logistics



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     surrounding whether the witness would be needed on another day of the
     hearing. After concluding that the witness should stay in town, the judge
     asked: “Well, are you in a better hotel than the kids are in? That’s all I want
     to know.”
            Another such exchange arose during a direct examination on the
     subject of contractor quality and the State’s choice of contractor:
            WITNESS: “[T]he oversight we provide is around, again,
            making sure that [Contractor’s] services are covered and
            delivered. We don’t necessarily —”
            THE COURT: “Not delivered well. You don’t care if they’re
            delivered well. You don’t have anything to do with that?”
            WITNESS: “Your Honor, I —”
            THE COURT: “That’s an easy one.”
     And later:
            THE COURT: “[T]he state contracts with these people that
            are not doing their job, and they still keep contracting with
            them, and they don’t get their tests done. They’re measuring
            it. The State is measuring it. A lot of good that does. Does
            anybody have an answer? What is the answer to this, except
            for [Contractor] is going to continue to try to work with you?”
            WITNESS: “Your Honor, I’m sorry. Would you repeat the
            question? I want to be responsive.”
            THE COURT: “I don’t know if there’s a question. It was
            more of an irritable rant . . . .”
     See Johnson, 120 F.3d at 1334 (reassigning after the judge, among other
     things, asked potential witnesses during voir dire: “Now, how many of you
     have a bone to pick, other than me, with the Internal Revenue Service?”). And
     when that same witness explained that it was his “understanding that
     [Contractor] in Texas is outperforming other states with a single statewide




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     Managed Care Organization for foster care,” the judge dismissed it: “Well,
     I don’t really care about other states. We’re talking about this state.” Why
     that testimony is irrelevant is unclear.
            The judge displayed similar emotion during cross-examination of the
     same witness:
            We just had one of the world’s experts on this in here talking
            about how important [Texas Psychotropic Medication
            Utilization Parameters were] for the safety of the children, and
            yet you who work for the Department cannot say this is a
            number one safety concern for psychotropic drugs. . . . And
            that is really chilling to me. . . . Sorry. We’re going to take a
            break, because I’m getting distressed and it’s not fair to this
            witness.
     After the court took a recess to alleviate her distress, however, the judge
     stopped asking questions of the witness alongside Plaintiffs’ counsel, and
     opted instead to insert accusatory commentary:
            PLAINTIFFS’ COUNSEL: “The Texas Psychotropic
            Medication Utilization Parameters are in place today to help
            ensure child safety, are they not?”
            THE COURT: “He’s not going to say it. He’s been coached
            not to talk about child safety in this hearing —”
            COUNSEL: “Your Honor —”
            THE COURT: “— as every one of their witnesses has to
            date.”
            COUNSEL: “Let’s hear him deny it.”
     Plaintiffs’ counsel repeated the question, but when the witness attempted to
     answer, the judge stated: “Here we go.”          At the end of that line of
     questioning, the judge remarked: “You got that one down.” When the
     witness later asked a clarifying question of Plaintiffs’ counsel, the judge
     stated: “Now, isn’t that sad?” See Johnson, 120 F.3d at 1335 (reassigning




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     after a judge, among other things, stated: “It seems to me the problem is one
     of disingenuousness on the part of witnesses getting up here and saying they
     don’t know anything. They’re lying through their teeth. That’s all that
     means.”).
             During another witness’s testimony, the judge remarked: “I don’t
     know how the State sleeps at night with this. I really don’t.” Following
     Defense cross-examination of that witness, when counsel said, “No further
     questions from this witness,” the judge replied: “I would hope not. Thank
     you.”
             Caustic remarks like these are not limited to the contempt hearing. At
     a post-contempt hearing status conference, the judge stated: “Commissioner
     Young, Commissioner Muth, there are people in your departments . . . that
     have a higher concern about these children than either of you do, evidently.”
     Soon thereafter, after a series of questions about the veracity of certain state
     records, she asked: “[Commissioner Muth], have you no shame that you can
     seriously sit here under oath with your cohort there . . .?”         Following
     objection by Defense counsel, the judge stated: “I don’t know how you all
     sleep nights. [Counsel], do you want to add your two cents here? Oh, I’m
     sorry, not two cents, the 1,000-some-odd dollars’ worth.” On another
     occasion, Defense counsel apparently failed to bring printed copies of certain
     documents that the court requested to a post-contempt hearing status
     conference. In response, the court quickly brought up the prospect of in-
     court contempt, threatening Defendants themselves: “Commissioner Muth,
     Commissioner Young, have you ever seen the inside of a jail cell?” See Gomez
     v. St. Jude Med. Daig Div. Inc., 442 F.3d 919, 938 (5th Cir. 2006) (“[T]he
     question is whether the court is biased against a party, not whether the court
     is annoyed with the party’s counsel.”).




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            A little later, and again mentioning Defense counsel’s fees, the court
     mused about the prospect with Plaintiffs’ counsel, who joined in the crude
     jest at the Defendants’ expense:
            THE COURT: “I’m just thinking of the the [sic] punishment
            for the contumacious behavior. I should sentence [Counsel]
            and [DFPS Commissioner] Muth and [HHSC Commissioner]
            Young to one of these CWOP (phonetic) houses, maybe one of
            the one of the [sic] cheap motels, where they can live off of
            McDonald’s.”
            COUNSEL: “They wouldn’t have to stay there, Your Honor.
            They could just leave whenever they wanted. They could just
            leave whenever they wanted. They could just come and go
            since that’s true security in these houses.”
            THE COURT: “That’s true. That’s true, or they might be
            subject to the tasering or the handcuffs.”
            COUNSEL: “Yes, they could. They certainly —”
            THE COURT: “Or the pulling of the arrests.”
            COUNSEL: “They certainly wouldn’t stay there for any
            meals.”
            THE COURT: “And, you know, but I hate though to send
            anybody from Gibson Dunn at $1300 an hour to one of the
            CWOP locations and charge that up to the State.”
     The judge concluded: “These are our children. These are our children.” See
     Ruiz v. Estelle, 679 F.2d 1115, 1129 (5th Cir. 1982) (“The trial judge must not
     become personally embroiled in the proceedings. He must not assume the
     role of prosecutor or defender.” (quotations omitted)).
            In addition to other grounds for contempt, the district judge is
     carrying forward Plaintiffs’ request for receivership, but she expressed
     interest in the thoughts of one of Plaintiffs’ expert witnesses on the matter
     during the contempt hearing:




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            DEFENSE COUNSEL: “[H]ave you ever discussed with
            anyone . . . the possibility of a receivership in the State of Texas
            over the child welfare system?”
            THE COURT: “Do you want to ask her if she’s got an
            opinion?”
            COUNSEL: “No, Your Honor.”
            THE COURT: “I bet we’ll get one. I like this lady.”
            COUNSEL: “I’m aware.”
            THE COURT: “I liked her from the trial.”
            This is not the only time the judge telegraphed her interests or
     leanings on certain matters in this case. In early 2023, the judge began
     encouraging Plaintiffs to file the instant contempt motion: “I told you-all that
     at the last hearing, that I was prepared to hear a contempt motion, and I never
     got one. . . . I can’t write it for you. . . . I can just tell you that I’m
     prepared. . . . I was prepared today to hear one, and none showed up.” Once
     Plaintiffs filed their motion, the court encouraged adding to it to cover more
     remedial orders: “Let me tell you how this is going to go. I’m going to ask
     [Plaintiffs’ counsel] to modify his contempt motion.”              At the same
     conference in which the judge encouraged modification, she also stated: “I
     need to tell you all, I don’t see how you ever are going to get off monitoring
     with this attitude. I don’t know how you’re going to ever turn the corner.”
            After the contempt hearing, Defendants filed a Rule 60(b)(5) motion
     for relief from judgment that remains pending, but the district judge
     remarked later about Defendants’ “hubris” and stated that filing the motion
     was “unbelievable.” After Plaintiffs’ counsel expressed that he found the
     motion “maddening,” the judge noted: “Well, clearly it’s affecting me.” See
     In re DaimlerChrysler Corp., 294 F.3d at 701 & n.1 (reassigning because of a
     judge’s demonstrated “hostility,” including a sarcastic attack on the
     defendants). In that same conference, the district judge mentioned that she




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     was “going to start charging [Defendants] per incident in the next contempt
     hearing — per incident,” rather than per order.
              The above excerpts show that the judge exhibits a sustained pattern,
     over the course of months and numerous hearings, of disrespect for the
     Defendants and their counsel, but no such attitude toward the Plaintiffs’
     counsel. The judge’s demeanor exhibits a “high degree of antagonism,”
     calling into doubt at least “the appearance of fairness” for the state
     Defendants. Johnson, 120 F.3d at 1333, 1335.
              The third factor relevant to a reassignment request requires evaluating
     the effects of reassignment on judicial efficiency, as this court weighs any
     “gain in preserving the appearance of fairness” against any “waste and
     duplication.” Johnson, 120 F.3d at 1333. In a decade-old case, with a
     remedial decree covering over sixty dictates, this is a difficult task.
     Undoubtedly, the judge is intimately familiar with the course of proceedings
     and the scope of the demands placed upon state agencies that are responsible
     for a $2 billion budget, over 29,000 children, and 100,000 facilities. We do
     not lightly transfer oversight of the court’s remedial decree to another federal
     judge given the complexity of the case.
               On the other hand, this court has not previously hesitated, when
     necessary, to remove a judge from extended litigation. See id. (removing
     judge from a “hotly contested, extremely emotional case that had been
     pending for more than ten years”); Cobell v. Kempthorne, 455 F.3d 317, 319
     (D.C. Cir. 2006) (removing judge from institutional reform case pending
     nearly a decade). Several facts compel bringing this case before a more
     disinterested tribunal. First, that the district judge has become too personally
     involved in the proceedings seems evident from the episodes recounted
     above.




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            Second, it is necessary to reconsider the continued adversarial nature
     of this proceeding. Here, the judge indicated the strong possibility, arising
     from over 200 pages’ discussion in the 427-page order that resulted in this
     appeal, that there will be further contempt orders or that the foster care
     system will be placed in receivership. In the December 2023 hearing, in
     addition to taking evidence about the investigation of abuse and neglect
     allegations involving PMC children under Remedial Orders 3 and 10, the
     court considered (a) continuing safety concerns in DFPS and HHSC, (b) the
     use of psychotropic medicines, (c) “the CWOP [Children without
     placement] crisis,” (d) apprising PMC children of ways to report abuse and
     neglect, and (e) the inadequacy of PMC children’s medical and educational
     records. These areas of inquiry pertained to Remedial Orders 4, 7, 8, 20, 25,
     26, 27, 29, 31, 35, A3, A4, A6, and the Order Regarding Workload Studies.
     The state counters in brief that it has fully complied with a number of
     Remedial Orders, and with Remedial Orders 3 and 10 by inter alia hiring and
     better training more staff, and implementing policies to hold providers
     accountable for poor care. The state intends to continue improving the foster
     care system in good faith, as exhibited by significant remedial efforts in the
     past several years.
            We take no position on issues that have not yet matured into
     appealable orders. However, as a general rule of law federal judges are not
     allowed to become permanent de facto superintendents of major state
     agencies. Horne v. Flores, 557 U.S. 433, 453, 129 S. Ct. 2579, 2597 (2009)
     (“[T]he longer an injunction or consent decree stays in place, the greater the
     risk that it will improperly interfere with a State’s democratic processes.”);
     United States v. Mississippi, 82 F.4th 387, 400 (5th Cir. 2023)
     (“Micromanagement, enforced upon threat of contempt, does not reflect the
     principles of comity” in prison context.). Nor, under the federalist structure
     created by the Constitution, is it appropriate for federal court intervention




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     to thwart the state’s self-management, where the state is taking strides to
     eliminate the abuses that led to the original decree. Horne, 557 U.S. at 448,
     129 S. Ct. at 2593–94 (“Federalism concerns are heightened” where “a
     federal court decree has the effect of dictating state . . . budget priorities.”).
     Nor are federal judges even suited, by training or temperament, to manage
     institutions, personnel, or the provision of vital state services, even if
     counselled by monitors. In this case particularly, the integrity of oversight
     may have been further put at risk by the trial court’s creation of a “fund,”
     based on plaintiffs’ attorneys’ foregoing their court-approved fees, that the
     court may evidently disburse at its discretion. Federal judges should not be
     personally allocating resources from the state’s taxpayers for purposes not
     directly tied to and controlled by the state itself in order to abide by a court
     decree.
               As this court has explained, “when a judge’s actions stand at odds
     with these basic notions [of fairness and impartiality], we must act or suffer
     the loss of public confidence in our judicial system.” Miller, 986 F.3d at 883
     (5th Cir. 2021). The district judge must be removed.
                                   CONCLUSION
            For these reasons, we REVERSE the order of contempt, and further
     direct the Chief Judge of the Southern District of Texas to REASSIGN this
     case to another judge on remand.




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